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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
In re

YONG LEE INC.,                                                   Case No. 19-11909-mkv

                                    Debtor.                      Chapter 11
------------------------------------------------------X

                DEBTOR’S DECLARATION PURSUANT TO 11 U.S.C. § 1116


        Jing Yang, president of Yong Lee Inc. (the “Debtor”), hereby swears as follows:

        1.       The Debtor filed a Chapter 11 petition on June 10, 2019. It operates a cleaning

service in New York County.

        2.       The Debtor retained the services of Ortiz & Ortiz, L.L.P., as its bankruptcy

counsel (“Counsel”). I understand that Counsel’s retention is subject to the Court’s approval.

        3.       Counsel informed me that the Debtor is a small business debtor, as defined in 11

U.S.C. § 101(51D), and it is required to do the following:

                 (a) append to the voluntary petition its most recent balance sheet, statement of

                 operations, cash-flow statement, and Federal income tax return; or

                 (b) append a statement made under penalty of perjury that no balance sheet,

                 statement of operations, or cash-flow statement has been prepared and no Federal

                 tax return has been filed.

        4.       The last federal income tax return filed by the Debtor was for year 2017. A copy

of that return is annexed hereto, since it was not annexed to the petition.

        5.       At this time, I do not possess a balance sheet, statement of operations or

cash-flow statement. I will request that the accountant prepare the documents and file an

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amended declaration when I receive them.

       I declare, under the penalty of perjury, that the foregoing is accurate and true.

Dated: June 27, 2019
       New York, New York

                                                                       /s/ Jing Yang
                                                                      Jing Yang, President




                                                 2
